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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF CONNECTICUT

KIMBERLY A. NEGRON, DANIEL PERRY,
COURTNEY GALLAGHER, NINA CUROL,
ROGER CUROL, and BILLY RAY BLOCKER,
JR., Individually and on Behalf of All Others
Similarly Situated,

                           Plaintiffs,          Civ. A. No. 16-cv-1702 (JAM)

vs.

CIGNA CORPORATION, CIGNA HEALTH
AND LIFE INSURANCE COMPANY and
OPTUMRX, INC.,

                           Defendants.



 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT CIGNA HEALTH AND
 LIFE INSURANCE COMPANY’S PARTIAL MOTION TO DISMISS PLAINTIFFS’
            SECOND AMENDED CONSOLIDATED COMPLAINT
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                                        INTRODUCTION

       Plaintiff Billy Ray Blocker, Jr. was a participant in a health benefit plan established and

maintained by his employer, Cobb County Government (“Cobb County”). The Cobb County

benefit plan offered prescription drug benefits. The plan documents detailed the prescription drug

benefits that Cobb County would provide to its employee participants, like Plaintiff Blocker,

including how much Cobb County required them to pay for covered prescription drugs. In a

separate agreement, Cobb County contracted for Defendant Cigna Health and Life Insurance

Company (“CHLIC”) to provide various administrative services to the plans, such as prescription

drug claim processing.1

       In the Second Amended Consolidated Complaint, Plaintiff Blocker alleges that at various

points in 2015 and 2016, he paid more than he should have under the terms of his plans for certain

prescription drugs purchased at retail network pharmacies. He contends that CHLIC caused him

to make payments that violated the terms of his plans and that CHLIC should consequently be

liable for breaching both the terms of the plans and the covenant of good faith and fair dealing

implied in the plans.

       Plaintiffs’ claims for breach of contract (Count IX) and breach of the implied covenant of

good faith and fair dealing (Count X) fail as a matter of law and should be dismissed because

CHLIC is not a party to the plans and therefore cannot be liable for breaching plan terms. It is

well settled that a non-party to a contract cannot be liable for breaching that contract or its implied

covenant of good faith and fair dealing. Here, Plaintiff Blocker’s plans were established and

maintained by Cobb County, not CHLIC. CHLIC was retained separately by Cobb County to




1
 Cigna Corporation has been dismissed from the Action, so this motion is made on behalf of
Defendant CHLIC only.
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provide administrative services to the plans, but that does not make CHLIC a party to the plans

that may be liable in contract for alleged breaches of express or implied plan terms. Accordingly,

Counts IX and X of the Second Amended Consolidated Complaint should be dismissed with

prejudice.

                                   STATEMENT OF FACTS2

       When a participant in an employer-sponsored prescription drug benefits plan purchases a

prescription drug from a retail network pharmacy, that single transaction between the participant

and the pharmacy triggers several different and distinct contractual relationships to determine who

pays what amount and to whom for that participant’s prescription drug. ECF 198 (“SACC”) ¶¶ 70-

73. The parties to these various contracts typically include the plan participant, the plan sponsor,

the retail pharmacy, the plan’s claims administrator, and/or a pharmacy benefit manager (“PBM”).

Id. Two such contracts are relevant to this Motion. The first is the prescription drug benefits

plan between the participant and the plan sponsor (usually the employer), which dictates and sets

forth how much the participant must pay as his or her cost-share (e.g., copayment, coinsurance, or

deductible) for the prescription drug. Id. ¶¶ 70-71. The second is the contract between the plan

sponsor and CHLIC, which dictates what services CHLIC provides to the plan sponsor for

prescription drug benefits and the rates that the plan sponsor has agreed to pay for prescription

drugs and CHLIC’s pharmacy benefit management services. Id. ¶¶ 70, 72. The contract between

the plan sponsor and CHLIC can take different forms depending on how the plan is funded. If the



2
  In ruling on a motion to dismiss, the Court must “take all of the factual allegations in the
complaint as true,” but it is “not bound to accept as true a legal conclusion couched as a factual
allegation.” Pension Ben. Guar. Corp. ex rel. St. Vincent Catholic Med. Ctrs. Retirement Plan v.
Morgan Stanley Inv. Mgmt. Inc., 712 F.3d 705, 717 (2d Cir. 2013). Accordingly, the “Statement
of Facts” set forth herein assumes the truth of Plaintiffs’ factual allegations and does not accept as
true any allegation in the Second Amended Consolidated Complaint that constitutes no more than
“a legal conclusion couched as a factual allegation.”

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plan is self-funded, i.e., the plan sponsor pays for covered expenses with its own funds, the

relationship is detailed in an “Administratively Services Only” (“ASO”) contract. Id. ¶ 17 n.1. If

the plan is fully insured, i.e., the plan sponsor pays for CHLIC to assume responsibility for paying

covered claims and related expenses, the relationship is detailed in a group health insurance policy

and other disclosures. Id.

       Plaintiff Blocker is a citizen and resident of Georgia who was a participant in self-funded

prescription drug benefits plan established and maintained by his employer, Cobb County. Id. ¶¶

65, 177. Cobb County determines what benefits will be covered under the plan, and those plans

issued by Cobb County to participants detailed how much Plaintiff Blocker would pay as his cost-

share for prescription drugs. Id. ¶¶ 65, 70-71; see Ex. A (Cobb County Government Prescription

Drug Benefits Plan, Eff. Jan. 1, 2014); Ex. B (Cobb County Government Prescription Drug

Benefits Plan, Eff. Jan. 1, 2016).3 Because the Cobb County plans were established and maintained

by a political subdivision of a state government for its employees, they qualify as “governmental

plans” that are not subject to the Employee Retirement Income Security Act of 1974 (“ERISA”).

See SACC ¶ 65; see also 29 U.S.C. § 1003(b)(1). Plaintiff Blocker alleges that at various points

in 2015 and 2016, he paid more for prescription drugs than he should have under the terms of his

plans. SACC ¶¶ 65, 177.




3
  In ruling on a Rule 12(b)(6) motion, the Court may consider documents incorporated into the
complaint by reference, those documents integral to the complaint, and matters subject to judicial
notice. See, e.g., Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). Thus,
the Court may rely on plan-related materials and agreements that are referenced in, but not attached
to, the Second Amended Consolidated Complaint. See Cortec Indus., Inc. v. Sum Holding, L.P.,
949 F.2d 42, 47 (2d Cir. 1991). Exhibits A and B hereto are plan documents corresponding to
Plaintiff Blocker’s prescription drug coverage as alleged in the Second Amended Consolidated
Complaint.

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        Separate and apart from Plaintiff Blocker’s plans, Cobb County contracted for CHLIC to

provide various administrative services to its plans, including claims administration and pharmacy

benefit management services. Id. ¶ 65. Such services included, among other things, processing

claims for prescription drugs and providing plan participants with access to an established network

of pharmacies. See id. ¶¶ 65, 67.

        On February 6, 2020, Plaintiffs filed their Second Amended Consolidated Complaint. In

it, Plaintiff Blocker, on behalf of purported state law subclasses, claims that CHLIC is liable for

breaching the terms of his plans (Count IX) and the covenant of good faith and fair dealing implied

in his plans (Count X) because CHLIC allegedly caused him to pay more for prescription drugs

than he should have under the terms of his plans.

                                        LEGAL STANDARD

        The Court should grant a motion to dismiss if the complaint fails to state a claim upon

which relief can be granted. Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss under Rule

12(b)(6), a plaintiff must allege “enough facts to state a claim to relief that is plausible on its face.”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The allegations must include “factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice,” and the

well-pleaded facts must allow the court to infer more than the mere possibility of misconduct. Id.

                                            ARGUMENT

        I.      Count IX Should Be Dismissed Because CHLIC Is Not A Party To Plaintiff
                Blocker’s Plans.

        Plaintiff Blocker’s breach of contract claim (Count IX) should be dismissed because

CHLIC is not a party to Plaintiff Blocker’s plans and therefore cannot be liable for breaching them.


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Under Georgia law, which governs Plaintiff Blocker’s plans, the elements for a breach of contract

claim are “(1) breach and the (2) resultant damages (3) to the party who has the right to complain

about the contract being broken.” SAWS at Seven Hills, LLC v. Forestar Realty, Inc., 805 S.E.2d

270, 274 (Ga. Ct. App. 2017). “A breach occurs if a contracting party repudiates or renounces

liability under the contract; fails to perform the engagement as specified in the contract; or does

some act that renders performance impossible.” UWork.com, Inc. v. Paragon Techs., Inc., 740

S.E.2d 887, 893 (Ga. Ct. App. 2013) (emphasis added). “When a complaint does not allege facts

showing the existence of a contractual relationship between the plaintiff and the defendant,

dismissal is proper because ‘there is no set of provable facts within the framework alleged by the

complaint that would result in [liability] for breach of contract.’” Grady Mem’l Hosp. Corp. v.

Hayes, 801 S.E.2d 55, 57 (Ga. Ct. App. 2017) (quoting Weather v. Dieniahmar Music, LLC, 788

S.E.2d 852 (Ga. Ct. App. 2016)).

       Here, it is apparent from the Second Amended Consolidated Complaint that Plaintiff

Blocker’s breach of contract claim fail as a matter of law. He has failed to allege—nor can he—

facts showing that his plans created contractual relationships between himself and CHLIC or that

CHLIC may be liable for breaching the terms of his plans. Plaintiffs allege that Plaintiff Blocker

“received prescription drug coverage under a self-funded group health plan provided by his

employer Cobb County for his benefit” and that CHLIC only “administered” his plans. SACC

¶ 65 (emphasis added). Plaintiffs also allege that Plaintiff Blocker’s plans were “governmental”

plans “as defined under ERISA,” id., meaning they were plans “established or maintained” by a

political subdivision of a state government (here, Cobb County) for its employees, 29 U.S.C. §

1002(32). Plaintiffs also concede that in the context of an employer-sponsored benefit plan, a

contractual relationship exists only between “the member and his or her employer” and that



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participants do not contract directly with insurers. SACC ¶ 70 & n.6 (emphasis added).4 In the

face of clear allegations establishing that Plaintiff Blocker’s plans created contractual relationships

only between Plaintiff Blocker and the plans’ sponsor (Cobb County), Plaintiffs’ conclusory

allegations about CHLIC’s “contracts with Plaintiff Blocker” (id. ¶ 54) are not enough to allege

plausibly the existence of a contractual relationship between Plaintiff Blocker and CHLIC.

       The text of Plaintiff Blocker’s plans confirms that Cobb County is the plan sponsor

responsible for providing Plaintiff Blocker’s benefits and CHLIC is an administrative services

provider that is not a party to the plans. The plans define “Employer” (here, Cobb County) as “the

plan sponsor self-insuring the benefits described in this booklet, on whose behalf Cigna is

providing claim administration services.” Ex. A at CIGNA0004193 (emphasis added); Ex. B

at CIGNA0004219 (emphasis added). Under the heading “Important Information,” the plans

provide in all capital letters, “CIGNA HEALTH AND LIFE INSURANCE COMPANY (CIGNA)

PROVIDES CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES

NOT INSURE THE BENEFITS DESCRIBED.”                        Ex. A at CIGNA0004170; Ex. B at

CIGNA0004199. CHLIC is not listed as a party or signatory to the plans. To the extent Plaintiff

Blocker may argue that CHLIC has undertaken to provide him coverage by virtue of references to

“Cigna” in the plans, he misinterprets the plans. Under the same “Important Information” heading,

the plans provide in all capital letters, “REFERENCES TO ‘CIGNA,’ ‘INSURANCE



4
  Plaintiffs allege generally that putative class members with “state-law claims” purchase their
plans “from insurers without an employer in the middle.” SACC ¶ 70 n.6. But that directly
contradicts the allegation that Plaintiff Blocker—the only named plaintiff with state-law claims—
“received prescription drug coverage under a self-funded group health plan provided by his
employer Cobb County for his benefit.” Id. ¶ 65 (emphasis added). It also contradicts the plan
documents themselves, which make clear, as discussed further, that the “Employer” (here, Cobb
County) is “the plan sponsor self-insuring the benefits described” and that CHLIC is only
“providing claim administration services” on the plan sponsor’s behalf. Ex. A at CIGNA0004193;
Ex. B at CIGNA0004219.

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COMPANY,’ AND ‘POLICYHOLDER’ SHALL BE DEEMED TO MEAN YOUR

‘EMPLOYER’ . . . .” Ex. A at CIGNA0004170; Ex. B at CIGNA0004199. Accordingly, any

references to “Cigna” providing coverage or benefits are deemed to mean that Plaintiff Blocker’s

“Employer” (i.e., Cobb County) is responsible for providing coverage or benefits.

        It is axiomatic that the promises set forth in an employer-sponsored benefit plan constitute

the promises of the plan sponsor and not those of a third party retained separately by the plan

sponsor to provide administrative services to the plan. See, e.g., CIGNA Corp. v. Amara, 563 U.S.

421, 437 (2011) (“The plan’s sponsor (e.g., the employer), like a trust’s settlor, creates the basic

terms and conditions of the plan [and] executes a written instrument containing those terms and

conditions . . . .”). For that reason, courts have dismissed state law breach of contract claims

against third party administrative service providers when they arise from alleged plan violations.

See, e.g., Poonawala v. AIG Claim Servs., Inc., No. 4:06-1990, 2006 WL 8436586, at *2 (N.D.

Ala. Nov. 20, 2006) (dismissing breach of contract claim against claims administrator that was not

a party to the policy at issue).

        In sum, the promises set forth in Plaintiff Blocker’s employer-sponsored plans represent

promises made by Cobb County as the plan sponsor for the benefit of Plaintiff Blocker as the

participant. They do not create a contractual relationship between Plaintiff Blocker and CHLIC,

a third party provider of administrative services to the plans. Because CHLIC is not a party to the

plans, CHLIC cannot be liable for breach of the plans, and Count IX should be dismissed with

prejudice.

        II.     Count X Should Be Dismissed Because Plaintiff Blocker Has No Viable Breach
                Of Contract Claim Against CHLIC.

        The lack of a contract between CHLIC and Plaintiff Blocker is also fatal to his claim for

breach of the implied covenant of good faith and fair dealing (Count X). Under Georgia law,


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“[e]very contract implies a covenant of good faith and fair dealing in the contract’s performance

and enforcement.” Myung Sung Presbyterian Church, Inc. v. N. Am. Ass’n. of Slavic Churches &

Ministries, Inc., 291 Ga. App. 808, 810 (2008), disapproved of on other grounds by George v.

Hercules Real Estate Servs., Inc., 795 S.E.2d 81 (Ga. Ct. App. 2016). But the implied covenant

of good faith and fair dealing “cannot provide an independent basis for liability” because it simply

“modifies and becomes a part of the provisions of the contract.” Id. Put another way, “the

covenant cannot be breached apart from the contract provisions it modifies.” Id. It is well settled

under Georgia law that there can be no claim for breach of the implied covenant of good faith and

fair dealing absent a viable claim for breach of contract. See, e.g., Ceasar v. Wells Fargo Bank,

N.A., 744 S.E.2d 369, 374, adopted sub nom. Ceasar v. Wells Fargo Bank (Ga. State Ct. 2013)

(rejecting claim for breach of implied covenant of good faith and fair dealing for lack of viable

breach of contract claim); 280 Partners, LLC v. Bank of N. Georgia, 835 S.E.2d 377, 382 (Ga. Ct.

App. 2019) (same); Bankston v. RES-GA Twelve, LLC, 779 S.E.2d 80, 82 (Ga. Ct. App. 2015)

(“[Because] the trial court properly dismissed the breach of contract claim . . . , the claim for breach

of duty of good faith and fair dealing under the contract was also properly dismissed since there is

no such independent cause of action apart from the breach of contract claim.”).

       Here, Plaintiff Blocker “cannot maintain a claim for the breach of the covenant of good

faith and fair dealing because [he has] not alleged a viable claim for breach of contract.” Walker

v. Oglethorpe Power Corp., 802 S.E.2d 643, 666-67 (Ga. Ct. App. 2017), disapproved of on other

grounds by Hanham v. Access Mgmt. Grp. L.P., 825 S.E.2d 217 (Ga. 2019); see also supra Part I.

Stated otherwise, because CHLIC is not even a party to Plaintiff Blocker’s plans (as explained

above), CHLIC cannot be liable for breaching those plan terms that the implied covenant of good

faith and dealing “modifies” under Georgia law. Id. Thus, without a viable breach of contract



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claim against CHLIC, CHLIC cannot be liable for breaching the covenant of good faith and fair

dealing implied in those plans, and Count X should be dismissed with prejudice.

                                       CONCLUSION

       For the reasons discussed above, CHLIC respectfully requests that the Court dismiss

Counts IX and X of the Second Amended Consolidated Complaint with prejudice.



Dated: February 20, 2020                    Respectfully submitted,

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